               Case 2:24-cv-00814-AC Document 10 Filed 06/07/24 Page 1 of 2

 1 PHILLIP A. TALBERT
   United States Attorney
 2 ELLIOT C. WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Defendant
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     ATA UR RAHMAN SAFI,                                CASE NO. 2:24-CV-00814 AC
11
                                  Plaintiff,            STIPULATION AND [PROPOSED] ORDER FOR
12                                                      REMAND PURSUANT TO 8 U.S.C. § 1447(b)
                           v.
13
     USCIS, ET AL.,
14
                                 Defendant.
15

16

17

18          This is an immigration case in which Plaintiff alleges that Defendants have failed to make a

19 determination on his application for naturalization within 120 days as required by statute. 8 U.S.C. §

20 1447(b). The parties stipulate to a remand to U.S. Citizenship and Immigration Services with

21 instructions to adjudicate the matter within 120 days of the order of remand.

22 ///

23 ///

24 ///

25 ///

26 ///

27 ///

28 ///
               Case 2:24-cv-00814-AC Document 10 Filed 06/07/24 Page 2 of 2

 1     Respectfully submitted,
 2

 3    Dated: June 6, 2024                                   PHILLIP A. TALBERT
                                                            United States Attorney
 4

 5                                                    By: /s/ ELLIOT C. WONG
                                                          ELLIOT C. WONG
 6                                                        Assistant United States Attorney
 7

 8                                                          /s/ PAMELA PRESCOTT
                                                            PAMELA PRESCOTT
 9                                                          Counsel for Plaintiff
10

11                                            [PROPOSED] ORDER
12
                    Pursuant to 8 U.S.C. § 1447(b), U.S. Citizenship and Immigration Services is ordered to
13
     adjudicate the naturalization application within 120 days.
14

15
     DATED: June 7, 2024
16

17

18

19

20

21

22

23

24

25

26

27

28
